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11

12                           UNITED STATES DISTRICT COURT

13                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

14   UNITED STATES OF AMERICA,                No. CR 20-00209-PSG

15              Plaintiff,                    PLEA AGREEMENT FOR DEFENDANT
                                              EDUARDO MORENO
16                   v.

17   EDUARDO MORENO,

18              Defendant.

19

20        1.    This constitutes the plea agreement between EDUARDO MORENO
21   (“defendant”) and the United States Attorney’s Office for the Central
22   District of California (the “USAO”) in the above-captioned case.
23   This agreement is limited to the USAO and cannot bind any other
24   federal, state, local, or foreign prosecuting, enforcement,
25   administrative, or regulatory authorities.
26                            RULE 11(c)(1)(C) AGREEMENT
27        2.    Defendant understands that this agreement is entered into
28   pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C).
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 1   Accordingly, defendant understands that, if the Court determines that

 2   it will not accept this agreement, absent a breach of this agreement

 3   by defendant prior to that determination and whether or not defendant

 4   elects to withdraw any guilty plea entered pursuant to this

 5   agreement, this agreement will, with the exception of paragraph 22,

 6   be rendered null and void and both defendant and the USAO will be

 7   relieved of their obligations under this agreement.           Defendant

 8   agrees, however, that if defendant breaches this agreement prior to

 9   the Court’s determination whether or not to accept this agreement,

10   the breach provisions of this agreement, paragraphs 23 and 24 below,

11   will control, with the result that defendant will not be able to

12   withdraw any guilty plea entered pursuant to this agreement, the USAO

13   will be relieved of all of its obligations under this agreement, and

14   the Court’s failure to follow any recommendation or request regarding

15   sentence set forth in this agreement will not provide a basis for

16   defendant to withdraw defendant’s guilty plea.

17                              DEFENDANT’S OBLIGATIONS

18        3.    Defendant agrees to:
19              a.    Give up the right to indictment by a grand jury and,

20   at the earliest opportunity requested by the USAO and provided by the

21   Court, appear and plead guilty to the information in United States v.

22   Moreno, CR No. 20-00209-PSG, which charges defendant with Terrorist

23   Attacks and other Violence against Railroad Carriers and Mass

24   Transportation Systems in violation of 18 U.S.C. § 1992(a)(1).

25              b.    Agree that all court appearances, including his change

26   of plea hearing and sentencing hearing, may proceed by video-

27   teleconference (“VTC”) or telephone, if VTC is not reasonably

28   available, so long as such appearances are authorized by Order of the

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 1   Chief Judge 20-043 and 20-080, or another order, rule, or statute.

 2   Defendant understands that, under the Constitution, the United States

 3   Code, the Federal Rules of Criminal Procedure (including Rules 11,

 4   32, and 43), he may have the right to be physically present at these

 5   hearings.    Defendant understands that right and, after consulting

 6   with counsel, voluntarily agrees to waive it and to proceed remotely.

 7   Defense counsel also joins in this consent, agreement, and waiver.

 8   Specifically, this agreement includes, but is not limited to, the

 9   following:

10                     i.    Defendant consents under Section 15002(b) of the

11   CARES Act to proceed with his waiver of indictment, under Federal

12   Rule of Criminal Procedure 7(b), by VTC or telephone, if VTC is not

13   reasonably available.

14                     ii.   Defendant consents under Section 15002(b) of the

15   CARES Act to proceed with his change of plea hearing by VTC or

16   telephone, if VTC is not reasonably available.

17                     iii. Defendant consents under Section 15002(b) of the

18   CARES Act to proceed with his sentencing hearing by VTC or telephone,

19   if VTC is not reasonably available.

20                     iv.   Defendant consents under 18 U.S.C. § 3148 and

21   Section 15002(b) of the CARES Act to proceed with any hearing

22   regarding alleged violations of the conditions of pre-trial release

23   by VTC or telephone, if VTC is not reasonably available.

24                c.   Not contest facts agreed to in this agreement.

25                d.   Abide by all agreements regarding sentencing contained

26   in this agreement and affirmatively recommend to the Court that it

27   impose sentence in accordance with paragraph 16 of this agreement.

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 1              e.    Appear for all court appearances, surrender as ordered

 2   for service of sentence, obey all conditions of any bond, and obey

 3   any other ongoing court order in this matter.

 4              f.    Not commit any crime; however, offenses that would be

 5   excluded for sentencing purposes under United States Sentencing

 6   Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not

 7   within the scope of this agreement.

 8              g.    Be truthful at all times with the United States

 9   Probation and Pretrial Services Office and the Court.

10              h.    Pay the applicable special assessment at or before the

11   time of sentencing unless defendant has demonstrated a lack of

12   ability to pay such assessment.

13                              THE USAO’S OBLIGATIONS

14        4.    The USAO agrees to:
15              a.    Not contest facts agreed to in this agreement.
16              b.    Abide by all agreements regarding sentencing contained
17   in this agreement and affirmatively recommend to the Court that it
18   impose sentence in accordance with paragraph 16 of this agreement.
19                               NATURE OF THE OFFENSE

20        5.    Defendant understands that for defendant to be guilty of

21   the crime charged in the information, that is, Terrorist Attacks and

22   other Violence against Railroad Carriers and Mass Transportation

23   Systems, in violation of Title 18, United States Code, Section

24   1992(a)(1), the following must be true: (1) an individual wrecked,

25   derailed, set fire to, or disabled railroad on-track equipment or a

26   mass transportation vehicle; (2) the individual committed the act

27   knowingly and without lawful authority or permission; and (3) a

28   jurisdictional requirement was satisfied, specifically, that any of

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 1   the conduct required for the offense was engaged in, on, against, or

 2   affecting a mass transportation provider or a railroad carrier

 3   engaged in or affecting interstate commerce.

 4                            PENALTIES AND RESTITUTION

 5        6.    Defendant understands that the statutory maximum sentence

 6   that the Court can impose for a violation of Title 18, United States

 7   Code, Section 1992(a)(1), is: 20 years imprisonment; a lifetime of

 8   supervised release; a fine of $250,000 or twice the gross gain or

 9   gross loss resulting from the offense, whichever is greatest; and a

10   mandatory special assessment of $100.

11        7.    Defendant understands that defendant will be required to

12   pay full restitution to the victim(s) of the offense to which

13   defendant is pleading guilty.       Defendant agrees that, in return for

14   the USAO’s compliance with its obligations under this agreement, the

15   Court may order restitution to persons other than the victim(s) of

16   the offense to which defendant is pleading guilty and in amounts

17   greater than those alleged in the count to which defendant is

18   pleading guilty.     In particular, defendant agrees that the Court may

19   order restitution to any victim of any of the following for any

20   losses suffered by that victim as a result of any relevant conduct,

21   as defined in U.S.S.G. § 1B1.3, in connection with the offense to

22   which defendant is pleading guilty.        The parties currently believe

23   that the applicable amount of restitution is approximately $700,000,

24   but recognize and agree that this amount could change based on facts

25   that come to the attention of the parties prior to sentencing.

26        8.    Defendant understands that supervised release is a period

27   of time following imprisonment during which defendant will be subject

28   to various restrictions and requirements.         Defendant understands that

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 1   if defendant violates one or more of the conditions of any supervised

 2   release imposed, defendant may be returned to prison for all or part

 3   of the term of supervised release authorized by statute for the

 4   offense that resulted in the term of supervised release, which could

 5   result in defendant serving a total term of imprisonment greater than

 6   the statutory maximum stated above.

 7        9.    Defendant understands that, by pleading guilty, defendant

 8   may be giving up valuable government benefits and valuable civic

 9   rights, such as the right to vote, the right to possess a firearm,

10   the right to hold office, and the right to serve on a jury.

11   Defendant understands that he is pleading guilty to a felony and that

12   it is a federal crime for a convicted felon to possess a firearm or

13   ammunition.    Defendant understands that the conviction in this case

14   may also subject defendant to various other collateral consequences,

15   including but not limited to revocation of probation, parole, or

16   supervised release in another case and suspension or revocation of a

17   professional license.     Defendant understands that unanticipated

18   collateral consequences will not serve as grounds to withdraw

19   defendant’s guilty plea.

20        10.   Defendant understands that, if defendant is not a United

21   States citizen, the felony conviction in this case may subject

22   defendant to: removal, also known as deportation, which may, under

23   some circumstances, be mandatory; denial of citizenship; and denial

24   of admission to the United States in the future.          The Court cannot,

25   and defendant’s attorney also may not be able to, advise defendant

26   fully regarding the immigration consequences of the felony conviction

27   in this case.    Defendant understands that unexpected immigration

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 1   consequences will not serve as grounds to withdraw defendant’s guilty

 2   plea.

 3                                    FACTUAL BASIS

 4           11.    Defendant admits that defendant is, in fact, guilty of the

 5   offense to which defendant is agreeing to plead guilty.           Defendant

 6   and the USAO agree to the statement of facts provided below and agree

 7   that this statement of facts is sufficient to support a plea of

 8   guilty to the charge described in this agreement but is not meant to

 9   be a complete recitation of all facts relevant to the underlying

10   criminal conduct or all facts known to either party that relate to

11   that conduct.

12           On March 31, 2020, defendant MORENO, an engineer and train

13   operator for the Pacific Harbor Line train company (“PHL”), drove a

14   locomotive (the “train”) at high speed, did not slow down near the

15   end of the train track, and knowingly, intentionally, and without

16   lawful authority and permission derailed the train off the train

17   tracks near the United States Naval Ship Mercy – a hospital ship then

18   docked in the Port of Los Angeles, within the Central District of

19   California.      Defendant caused approximately $700,000 in damages as a

20   result of the derailment.      Defendant MORENO admits that at the time

21   of the offense PHL provided rail transportation, maintenance, and

22   dispatching services to the Ports of Long Beach and Los Angeles,

23   which together formed the largest container port in the United

24   States.       At the time of the offense, PHL’s trains at the Port of Los

25   Angeles – and, in particular, its trains at on-dock intermodal

26   terminals such as the one operated by defendant MORENO – were used to

27   load and unload cargo between the United States and the rest of the

28   world.

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 1                                 SENTENCING FACTORS

 2        12.   Defendant understands that in determining defendant’s

 3   sentence the Court is required to calculate the applicable Sentencing

 4   Guidelines range and to consider that range, possible departures

 5   under the Sentencing Guidelines, and the other sentencing factors set

 6   forth in 18 U.S.C. § 3553(a).       Defendant understands that the

 7   Sentencing Guidelines are advisory only.

 8        13.   The Defendant and the USAO agree that the following

 9   specific offense characteristics apply:

10     Loss Amount More than
       $550,000:
11                                             +14    U.S.S.G. § 2B1.1(b)(1)(H)
12     Reckless Risk of Death or                +2   U.S.S.G. § 2B1.1(b)(16)(A)
       Serious Bodily Injury:
13
       Abuse of Position of Trust or            +2              U.S.S.G. § 3B1.3
14     Use of Special Skill:
15     Public Welfare Departure:               +1              U.S.S.G. § 5K2.14
16        14.   Defendant understands that the government believes that the
17   terrorism enhancement set forth in U.S.S.G. § 3A1.4 applies.
18   Defendant understands that the government intends to seek a sentence
19   of 77 months’ imprisonment, among other conditions listed in
20   paragraph 16, regardless of whether the Court determines that the
21   terrorism enhancement set forth in U.S.S.G. § 3A1.4 applies.
22        15.   Defendant understands that there is no agreement as to
23   defendant’s criminal history or criminal history category.
24                               AGREED-UPON SENTENCE
25        16.   Pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C),
26   Defendant and the USAO agree that, taking into account the factors
27   listed in 18 U.S.C. § 3553(a)(1)-(7), an appropriate disposition of
28   this case is that the Court impose a sentence of no greater than 77
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 1   months’ imprisonment; a lifetime of supervised release with

 2   conditions to be fixed by the Court; a $100 special assessment; and

 3   approximately $700,000 in restitution.        The parties agree that

 4   restitution is to be paid pursuant to a schedule to be fixed by the

 5   Court in the following amounts: approximately $700,000, to Pacific

 6   Harbor Line, Inc.     The parties also agree that no prior imprisonment

 7   (other than credits that the Bureau of Prisons may allow under 18

 8   U.S.C. § 3585(b)) may be credited against this stipulated sentence,

 9   including credit under Sentencing Guideline § 5G1.3.

10                         WAIVER OF CONSTITUTIONAL RIGHTS

11        17.   Defendant understands that by pleading guilty, defendant
12   gives up the following rights:
13              a.    The right to persist in a plea of not guilty.
14              b.    The right to a speedy and public trial by jury.
15              c.    The right to be represented by counsel – and if
16   necessary have the Court appoint counsel -- at trial.           Defendant
17   understands, however, that, defendant retains the right to be
18   represented by counsel – and if necessary have the Court appoint
19   counsel – at every other stage of the proceeding.

20              d.    The right to be presumed innocent and to have the

21   burden of proof placed on the government to prove defendant guilty

22   beyond a reasonable doubt.

23              e.    The right to confront and cross-examine witnesses

24   against defendant.

25              f.    The right to testify and to present evidence in

26   opposition to the charges, including the right to compel the

27   attendance of witnesses to testify.

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 1               g.    The right not to be compelled to testify, and, if

 2   defendant chose not to testify or present evidence, to have that

 3   choice not be used against defendant.

 4               h.    Any and all rights to pursue any affirmative defenses,

 5   Fourth Amendment or Fifth Amendment claims, and other pretrial

 6   motions that have been filed or could be filed.

 7                          WAIVER OF APPEAL OF CONVICTION

 8         18.   Defendant understands that, with the exception of an appeal

 9   based on a claim that defendant’s guilty plea was involuntary, by

10   pleading guilty defendant is waiving and giving up any right to

11   appeal defendant’s conviction on the offense to which defendant is

12   pleading guilty.     Defendant understands that this waiver includes,

13   but is not limited to, arguments that the statute to which defendant

14   is pleading guilty is unconstitutional, and any and all claims that

15   the statement of facts provided herein is insufficient to support

16   defendant’s plea of guilty.

17                    LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

18         19.   Defendant agrees that, provided the Court imposes the
19   sentence in accordance with paragraph 16 above, defendant gives up

20   the right to appeal any portion of that sentence, and the procedures

21   and calculations used to determine and impose any portion of that

22   sentence.

23         20.   The USAO agrees that, provided the Court imposes a sentence

24   of at least 77 months’ of imprisonment and in accordance with

25   paragraph 16 above, the USAO gives up its right to appeal any portion

26   of that sentence, and the procedures and calculations used to

27   determine and impose any portion of that sentence.

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 1         21.   Defendant also gives up any right to bring a post-

 2   conviction collateral attack on the conviction or sentence, including

 3   any order of restitution, except a post-conviction collateral attack

 4   based on a claim of ineffective assistance of counsel, a claim of

 5   newly discovered evidence, or an explicitly retroactive change in the

 6   applicable Sentencing Guidelines, sentencing statutes, or statutes of

 7   conviction.    Defendant understands that this waiver includes, but is

 8   not limited to, arguments that the statute to which defendant is

 9   pleading guilty is unconstitutional, and any and all claims that the

10   statement of facts provided herein is insufficient to support

11   defendant’s plea of guilty.

12                       RESULT OF WITHDRAWAL OF GUILTY PLEA

13         22.   Defendant agrees that if, after entering a guilty plea
14   pursuant to this agreement, defendant seeks to withdraw and succeeds
15   in withdrawing defendant’s guilty plea on any basis other than a
16   claim and finding that entry into this plea agreement was
17   involuntary, then the USAO will be relieved of all of its obligations
18   under this agreement.
19                            EFFECTIVE DATE OF AGREEMENT

20         23.   This agreement is effective upon signature and execution of

21   all required certifications by defendant, defendant’s counsel, and an

22   Assistant United States Attorney.

23                                 BREACH OF AGREEMENT

24         24.   Defendant agrees that if defendant, at any time after the

25   signature of this agreement and execution of all required

26   certifications by defendant, defendant’s counsel, and an Assistant

27   United States Attorney, knowingly violates or fails to perform any of

28   defendant’s obligations under this agreement (“a breach”), the USAO

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 1   may declare this agreement breached.        All of defendant’s obligations

 2   are material, a single breach of this agreement is sufficient for the

 3   USAO to declare a breach, and defendant shall not be deemed to have

 4   cured a breach without the express agreement of the USAO in writing.

 5   If the USAO declares this agreement breached, and the Court finds

 6   such a breach to have occurred, then: (a) if defendant has previously

 7   entered a guilty plea pursuant to this agreement, defendant will not

 8   be able to withdraw the guilty plea, (b) the USAO will be relieved of

 9   all its obligations under this agreement, and (c) the Court’s failure

10   to follow any recommendation or request regarding sentence set forth

11   in this agreement will not provide a basis for defendant to withdraw

12   defendant’s guilty plea.

13           COURT AND UNITED STATES PROBATION AND PRETRIAL SERVICES

14                                 OFFICE NOT PARTIES
15         25.   Defendant understands that the Court and the United States
16   Probation and Pretrial Services Office are not parties to this
17   agreement and need not accept any of the USAO’s sentencing
18   recommendations or the parties’ agreements to facts, sentencing
19   factors, or sentencing.      Defendant understands that the Court will

20   determine the facts, sentencing factors, and other considerations

21   relevant to sentencing and will decide for itself whether to accept

22   and agree to be bound by this agreement.

23         26.   Defendant understands that both defendant and the USAO are

24   free to: (a) supplement the facts by supplying relevant information

25   to the United States Probation and Pretrial Services Office and the

26   Court, (b) correct any and all factual misstatements relating to the

27   Court’s Sentencing Guidelines calculations and determination of

28   sentence, and (c) argue on appeal and collateral review that the

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 1   Court’s Sentencing Guidelines calculations and the sentence it

 2   chooses to impose are not error, although each party agrees to

 3   maintain its view that the sentence referenced in paragraph 16

 4   consistent with the facts of this case.         While this paragraph permits

 5   both the USAO and defendant to submit full and complete factual

 6   information to the United States Probation and Pretrial Services

 7   Office and the Court, even if that factual information may be viewed

 8   as inconsistent with the facts agreed to in this agreement, this

 9   paragraph does not affect defendant’s and the USAO’s obligations not

10   to contest the facts agreed to in this agreement.

11                              NO ADDITIONAL AGREEMENTS

12         27.   Defendant understands that, except as set forth herein,
13   there are no promises, understandings, or agreements between the USAO
14   and defendant or defendant’s attorney, and that no additional
15   promise, understanding, or agreement may be entered into unless in a
16   writing signed by all parties or on the record in court.
17   //
18   //
19   //

20   //

21   //

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23   //

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27   //

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